        Case 4:19-cv-00037-DC-DF Document 43 Filed 06/14/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 PECOS DIVISION

MARY CATHERINE “KATIE”                           §
SANCHEZ,                                         §
         Plaintiff,                              §
                                                 §
v.                                               §                   P:19-CV-037-DC
                                                 §
PRESIDIO COUNTY, TEXAS, and                      §
FRANCES GARCIA,                                  §
in her individual capacity,                      §
              Defendants.                        §

                 ORDER RESETTING JURY SELECTION AND TRIAL
       On this day, the Court considered the status of the above-captioned cause. After due

consideration, the Court VACATES the current jury selection and trial settings and ORDERS

the following:

       This case is set for jury selection before United States Magistrate Judge David B. Fannin

on Tuesday, June 29, 2021, at 9:00 a.m. in Courtroom 1 of the United States Courthouse, 410

South Cedar Street, Pecos, Texas.

       This case is set for a final pretrial conference and jury trial before United States District

Judge David Counts on Tuesday, June 29, 2021, at 3:00 p.m. in Courtroom 1 of the United

States Courthouse, 410 South Cedar Street, Pecos, Texas.

       It is so ORDERED.

       SIGNED this 14th day of June, 2021.




                                      DAVID COUNTS
                                      UNITED STATES DISTRICT JUDGE
